                     Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 1 of 20

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Surgalign Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                                  RTI Surgical Holdings Inc.; Bears Holding Sub, Inc.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8 3           2 5 4 0 6 0 7
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  520       Lake Cook Road
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                                  Suite 315
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Deerfield                   IL         60015
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Lake County
                                              ______________________________________________
                                              County
                                                                                                           12481 High Bluff Dr.
                                                                                                          _______________________________________________
                                                                                                          Number     Street

                                                                                                           Unit 300
                                                                                                          _______________________________________________

                                                                                                           San Diego                  CA          92130
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.surgalign.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 2 of 20

Debtor        Surgalign Holdings, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3391

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 3 of 20

Debtor
                Surgalign Holdings, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                           Yes.            See Exhibit B
                                                    Debtor _____________________________________________               Affiliate
                                                                                                         Relationship _________________________
       business partner or an
       affiliate of the debtor?                               Southern District of Texas
                                                    District _____________________________________________ When                06/19/2023
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                     Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 4 of 20

Debtor
              Surgalign Holdings, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors (on a
       consolidated basis)
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
   Estimated assets (on a
 15.
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 consolidated basis)
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
   Estimated liabilities (on a
 16.
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 consolidated basis)
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            06   /19/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Christopher Thunander
                                             _____________________________________________
                                                                                                          Christopher Thunander
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Accounting Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                     Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 5 of 20

Debtor
              Surgalign Holdings, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Veronica A. Polnick
                                            _____________________________________________            Date        06 / 19 / 2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                            Veronica A. Polnick
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Jackson Walker LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1401        McKinney Street, Suite 1900
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Houston
                                           ____________________________________________________             TX
                                                                                                           ____________  77010
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (713) 752-4200
                                           ____________________________________                             vpolnick@jw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            24079148
                                           ______________________________________________________  Texas
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
         Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 6 of 20




                                            Exhibit A
                                         Affiliated Entities

On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed in
this Court a petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101 et seq., as amended. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Surgalign Holdings, Inc.

   1.   Andi's Belmarall, LLC
   2.   Fourth Dimension Spine, LLC
   3.   Holo Surgical Inc.
   4.   HoloSurgical Technology Inc.
   5.   Pioneer Surgical Technology NewCo Inc.
   6.   Spinal Transition and Professional Services LLC
   7.   Surgalign Holdings, Inc.
   8.   Surgalign Spine Technologies, Inc.
                                  Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 7 of 20


Fill in this information to identify the case:
    Debtor name: Surgalign Holdings, Inc., et al .                                                                                                                    □ Check if this is an amended filing
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (if known): TBD



Official Form 204

Chapter 11 or Chapter 9: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                       12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 50 largest unsecured claims.


Name of creditor and complete mailing address,         Name, telephone number, and email                Nature of the claim          Indicate if     Amount of unsecured claim
including zip code                                     address of creditor contact                      (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                        bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                                        services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                                        contracts)                   or disputed     calculate unsecured claim.


                                                                                                                                                                           Deduction for value
                                                                                                                                                       Total claim, if
                                                                                                                                                                             of collateral or  Unsecured Claim
                                                                                                                                                      partially secured
                                                                                                                                                                                  setoff

      Dearborn Capital Management LLC
                                                       Dearborn Capital Management LLC
      Attn: Krzysztof Siemionow
1                                                      Attn: Krzysztof Siemionow                        Note Payable                       D                                                            $5,306,000.00
      296 Woodward Blvd.
                                                       E‐mail: siemiok@gmail.com
      Tulsa, OK 74114


      Neva, LLC
                                                       Neva, LLC
      Attn: Pawel Lewicki
2                                                      Attn: Pawel Lewicki                              Note Payable                       D                                                            $5,306,000.00
      296 Woodward Blvd.
                                                       E‐mail: ppl@myfastmail.com
      Tulsa, OK 74114

                                                       Aziyo Biologoics Inc
      Aziyo Biologoics Inc
                                                       Attn: Jon Stipanovich, Director of National
      Attn: Jon Stipanovich, Director of National
                                                       Accounts
3     Accounts                                                                                          Trade                                                                                            $500,468.00
                                                       Phone: 240‐247‐1170
      12510 Prosperity Drive, Suite 370
                                                       Fax: 510‐307‐9896
      Silver Spring, MD 20904
                                                       E‐mail: js panovich@aziyo.com
      Resolve Surgical Technologies
                                                       Resolve Surgical Technologies
      Attn: Bradford Aquino, Chief Financial Officer
                                                       Attn: Bradford Aquino, Chief Financial Officer
      Pioneer Surgical Technology Inc dba Resolve
4                                                      Phone: 906‐226‐9909                              Trade                                                                                            $389,242.63
      Surgical Technologies
                                                       Fax: 906‐225‐5868
      375 River Park Circle
                                                       E‐mail: baquino@resolvesurg.com
      Marquette, MI 49855

      Medical Strategic Management
      Attn: President or General Counsel
                                                       Medical Strategic Management
5     21 Panteli Katelari Street                                                                        Trade                                                                                            $274,704.88
                                                       Attn: President or General Counsel
      Nicosia, 1097
      Cypus

      RTI Surgical, Inc.
                                                       RTI Surgical, Inc.
      Attn: Lana Wilson, Senior Counsel
6                                                      Attn: Lana Wilson, Senior Counsel                Trade                                                                                            $262,120.77
      11621 Research Circle
                                                       E‐mail: lwilson@rtix.com
      Alachua, FL 32615


      Engineered Medical Systems (EMS)                 Engineered Medical Systems (EMS)
      Attn: Matt Lewis, President                      Attn: Matt Lewis, President
7                                                                                                       Trade                                                                                            $234,806.00
      3325 Appling Road                                Phone: 713‐693‐1144; 901‐380‐5552
      Bartlett, TN 38133                               Fax: 901‐380‐5553


      SAP America, Inc.
                                                       SAP America, Inc.
      Attn: Lloyd Adams, President
8                                                      Attn: Lloyd Adams, President                     Software                                                                                         $232,647.22
      3999 West Chester Pike
                                                       Phone: 866‐857‐2621
      Newtown Square, PA 19073


      Arch (JPMC) Philadelphia                         Arch (JPMC) Philadelphia
      Attn: Eli Crotzer, CEO                           Attn: Eli Crotzer, CEO
9                                                                                                       Trade                                                                                            $226,794.00
      3063‐B Philmont Ave                              Phone: 901‐921‐3281
      Huntingdon Valley, PA 19006                      E‐mail: ecrotzer@archglobalprecision.com


      Arcamed LLC                                      Arcamed LLC
      Attn: Jon Desalvo, CEO                           Attn: Jon Desalvo, CEO
10                                                                                                      Trade                                                                                            $183,468.48
      5101 Decatur Blvd. Ste. A                        Phone: 877‐545‐6622
      Indianapolis, IN 46241                           E‐mail: sales@arcamed.com
                                 Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 8 of 20
Debtor: Surgalign Holdings, Inc., et al .                                                                                                                                     Case number (if known) ___TBD_______

Name of creditor and complete mailing address,          Name, telephone number, and email                  Nature of the claim          Indicate if     Amount of unsecured claim
including zip code                                      address of creditor contact                        (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                           bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                                           services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                                           contracts)                   or disputed     calculate unsecured claim.


                                                                                                                                                                              Deduction for value
                                                                                                                                                          Total claim, if
                                                                                                                                                                                of collateral or  Unsecured Claim
                                                                                                                                                         partially secured
                                                                                                                                                                                     setoff

     Culver Tool                                        Culver Tool
     Attn: David Winrotte, President                    Attn: David Winrotte, President
11                                                                                                         Trade                                                                                            $138,249.50
     2121 Walter Glaub Dr.                              Phone: 574‐935‐9611
     Plymouth, IN 46563                                 E‐mail: david.winrotte@culvertool.com


     Arch‐Memphis                                       Arch‐Memphis
     Attn: Colby Kenyon, President                      Attn: Colby Kenyon, President
12                                                                                                         Trade                                                                                            $126,051.00
     7580 Bartlett Corporate Drive                      Phone: 901‐672‐6333
     Memphis, TN 38133                                  Fax: 901‐672‐6334


     Abel Solutions, LLC
                                                        Abel Solutions, LLC
     Attn: David Hammond, President
13                                                      Attn: David Hammond, President                     Trade                                                                                            $114,916.39
     3820 Mansell Rd Ste 260
                                                        Phone: 678‐393‐1704
     Alpharetta, GA 30022

                                                        Polsinelli PC
     Polsinelli PC                                      Attn: Gregory M. Kratofil, Jr. & Mary Jane Judy,
     Attn: Gregory M. Kratofil, Jr. & Mary Jane Judy,   Managing Partners
14   Managing Partners                                  Phone: 816‐753‐1000                                Professional Services                                                                            $105,021.00
     900 W. 48th Place. Suite #900                      Fax: 816‐753‐1536
     Kansas City, MO 64112                              E‐mail: gkratofil@polsinelli.com;
                                                        mjudy@polsinelli.com
                                                        Bass, Berry & Sims PLC
     Bass, Berry & Sims PLC
                                                        Attn: Todd J. Rolapp, Managing Partner
     Attn: Todd J. Rolapp, Managing Partner
15                                                      Phone: 615‐742‐6200                                Professional Services                                                                              $67,010.17
     150 3rd Ave S, Ste 2800
                                                        Fax: 615‐742‐6293
     Nashville, TN 37201‐2017
                                                        E‐mail: trolapp@bassberry.com
                                                        Spartronics Watertown LLC
     Spartronics Watertown LLC
                                                        Attn: Jeffrey Schlarbaum, CEO
     Attn: Jeffrey Schlarbaum, CEO
16                                                      Phone: 605‐886‐2519                                Trade                                                                                              $61,532.61
     2920 Kelly Ave
                                                        Fax: 605‐886‐5123
     Watertown, SD 57201
                                                        E‐mail: info@spartronics.com
                                                        Fitch, Even, Tabin & Flannery LLP
     Fitch, Even, Tabin & Flannery LLP
                                                        Attn: Timothy P. Maloney
     Attn: Timothy P. Maloney
17                                                      Phone: 312‐577‐7000                                Professional Services                                                                              $55,368.63
     120 South LaSalle Street, Suite 2100
                                                        Fax: 312‐577‐7007
     Chicago, Illinois 60603
                                                        E‐mail: tim@fitcheven.com

     Serbia Stewart Consulting Group                    Serbia Stewart Consulting Group
     Attn: Jason Stewart                                Attn: Jason Stewart
18                                                                                                         Professional Services                                                                              $44,000.00
     8861 Villa La Jolla Drive #13272                   Phone: 619‐778‐3349
     La Jolla, CA 92037                                 E‐mail: info@ssconsultinggroup.com


     TOMZ                                               TOMZ
     Attn: Tom Matulaniec, CEO                          Attn: Tom Matulaniec, CEO
19                                                                                                         Trade                                                                                              $43,855.00
     47 Episcopal Rd                                    Phone: 619‐894‐6162; 860‐829‐0670
     Berlin, CT 06037                                   Fax: 860‐828‐7403


     Trilogy Surgical Inc
                                                        Trilogy Surgical Inc
     Attn: Sean Monahan, President
20                                                      Attn: Sean Monahan, President                      Trade                                                                                              $42,986.00
     5138 Sw 103Rd Way
                                                        Phone: 352‐331‐9398
     Gainesville, FL 32608

                                                        Marvel Consultants, Inc.
     Marvel Consultants, Inc.
                                                        Attn: John Sowers, President
     Attn: John Sowers, President
21                                                      Phone: 216‐455‐1437; 216‐292‐2855                  Professional Services                                                                              $35,000.00
     28601 Chagrin Blvd. Suite 515
                                                        Fax: 216‐292‐7207
     Cleveland, OH 44122
                                                        E‐mail: jsowers@marvelconsultants.com
                                                        Cooley LLP
     Cooley LLP
                                                        Attn: Patrick Gunn, Managing Partner
     Attn: Patrick Gunn, Managing Partner
22                                                      Phone: 415‐693‐2000                                Professional Services                                                                              $34,472.55
     101 California 5th floor
                                                        Fax: 415‐693‐2222
     San Francisco, CA 94111
                                                        E‐mail: pgunn@cooley.com


23   Name and Address on File                           Name and Address on File                           Severance                                                                                          $31,666.70


     Allosource                                         Allosource
     Attn: Dean Elliott, President and CEO              Attn: Dean Elliott, President and CEO
24                                                                                                         Trade                                                                                              $30,813.30
     6278 S Troy Cir                                    Phone: 720‐873‐0213
     Centennial, CO 80111                               Fax: 720‐873‐0212




Official Form 204                                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                               Page 2
                                   Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 9 of 20
Debtor: Surgalign Holdings, Inc., et al .                                                                                                                               Case number (if known) ___TBD_______

Name of creditor and complete mailing address,       Name, telephone number, and email               Nature of the claim          Indicate if     Amount of unsecured claim
including zip code                                   address of creditor contact                     (for example, trade debts,   claim is        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                     bank loans, professional     contingent,     amount. If claim is partially secured, fill in total claim
                                                                                                     services, and government     unliquidated,   amount and deduction for value of collateral or setoff to
                                                                                                     contracts)                   or disputed     calculate unsecured claim.


                                                                                                                                                                        Deduction for value
                                                                                                                                                    Total claim, if
                                                                                                                                                                          of collateral or  Unsecured Claim
                                                                                                                                                   partially secured
                                                                                                                                                                               setoff

     TGR Partners                                    TGR Partners
     Attn: Matt Lewry                                Attn: Matt Lewry
25                                                                                                   Professional Services                                                                              $30,448.00
     228 S Cedros Ave, Ste D                         Phone: 404‐345‐2605; 858‐356‐2391
     Solana Beach, CA 92075‐1950                     E‐mail: mlewry@tgrpartners.com

     Global Experience Specialists Inc               Global Experience Specialists Inc
     Attn: Kris Truscott ‐ Vice President/General    Attn: Kris Truscott ‐ Vice President/General
26   Manager                                         Manager                                         Professional Services                                                                              $26,059.82
     7000 Lindell Rd                                 Phone: 702‐515‐5500
     Las Vegas, NV 89118                             E‐mail: ktruscott@ges.com

     Lifenet Health
                                                     Lifenet Health
     Attn: President or General Counsel
27                                                   Attn: President or General Counsel              Litigation                   CUD                                                                 Unliquidated
     1864 Concert Drive
                                                     Phone: 800‐847‐7831
     Virginia Beach, VA 23453


     National Union Fire Insurance Company of
                                                     National Union Fire Insurance Company of
     Pittsburg, PA
                                                     Pittsburg, PA
28   Attn: President or General Counsel                                                              Litigation                   CUD                                                                 Unliquidated
                                                     Attn: President or General Counsel
     1271 Ave of the Americas FL 37
                                                     Phone: 212‐770‐7000
     New York, NY 10020‐1304

     Pacific Building Group                          Pacific Building Group
     Attn: Kevin R. Carlin, Esq.                     Attn: Kevin R. Carlin, Esq.
29   c/o Carlin Law Group, APC                       Phone: 619‐615‐5325                             Litigation                   CUD                                                                 Unliquidated
     4452 Park Blvd Suite 310                        Fax: 619‐615‐5326
     San Diego, CA 92116                             E‐mail: kcarlin@carlinlawgroup.com

     SNH Medical Office Properties Trust
     Attn: Bobbie Purcell, Senior Property Manager
     c/o The RMR Group LLC                           SNH Medical Office Properties Trust
30                                                                                                   Litigation                   CUD                                                                 Unliquidated
     8631 West Third Street, Suite 301E              Attn: Bobbie Purcell, Senior Property Manager
     Los Angeles, CA 90048




Official Form 204                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                            Page 3
             Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 10 of 20




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    SURGALIGN HOLDINGS, INC., et al.1                                    )    Case No. 23-______ (___)
                                                                         )
                                Debtors.                                 )    (Joint Administration Requested)
                                                                         )

                         CONSOLIDATED CORPORATE OWNERSHIP
                    STATEMENT AND LIST OF EQUITY INTEREST HOLDERS
                  PURSUANT TO FED. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

             Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational list

reflecting all of the ownership interests in the above-captioned debtor and its debtor affiliates, as

debtors and debtors in possession (collectively, the “Debtors”). The Debtors respectfully

represent as follows:

             1.      The equity of each of the Debtors identified on Exhibit A is 100% owned by the

entity identified as the equity holder thereof on Exhibit A.

             2.      Surgalign Holdings, Inc. is the ultimate parent of each of the Debtors and its

equity securities are publicly held. The following chart identifies all of the holders that the

Debtors understand hold 5% or more of Surgalign Holdings, Inc. stock.2



1
      The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number, are:
      Surgalign Holdings, Inc. (0607); Surgalign Spine Technologies, Inc. (6543); Pioneer Surgical Technology NewCo Inc.
      (N/A); Spinal Transition and Professional Services LLC (N/A); Andi’s Belmarall, LLC (N/A); Fourth Dimension Spine,
      LLC (1107); Holo Surgical Inc. (4079); and HoloSurgical Technology Inc. (0952). The location of the debtors’ service
      address in these chapter 11 cases is: 520 Lake Cook Road, Suite 315, Deerfield, Illinois 60015.

2     This list reflects holders of five percent or more of Surgalign Holdings, Inc.’s common stock and serves as the disclosure
      required to be made by the Debtors pursuant to Bankruptcy Rule 1007. Surgalign Holdings, Inc. does not and cannot know
      the precise holdings or identity of the holders of its publicly held common stock. Thus, by separate motion filed
      contemporaneously herewith, the Debtors are requesting a waiver of the requirement under Rule 1007 to file a list of all its
      equity security holders.
 Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 11 of 20




  EQUITY HOLDER            KIND/CLASS OF INTEREST       PERCENTAGE
                                                          OWNED
                                                           9.9%
Armistice Capital LLC          Common Stock
                                                            5.1%
   Pawel Lewicki               Common Stock




                               2
        Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 12 of 20




                                       EXHIBIT A

            Debtor                Equity Holder(s)         Percentage of   Last Known Address
                                                            Ownership       of Equity Holder
Suralign Spine Technologies,    Surgalign Holdings, Inc.       100%        520 Lake Cook Road,
Inc.                                                                       Suite 315
                                                                           Deerfield, IL 60015
Spinal Transition and           Surgalign Holdings, Inc.       100%        520 Lake Cook Road,
Professional Services LLC                                                  Suite 315
                                                                           Deerfield, IL 60015
Pioneer Surgical Technology        Surgalign Spine             100%        520 Lake Cook Road,
NewCo Inc.                        Technologies, Inc.                       Suite 315
                                                                           Deerfield, IL 60015
Andi’s Belmarall, LLC            Spinal Transition and         100%        7 Switchbud Place
                               Professional Services LLC                   Suite 192-180
                                                                           The Woodlands, TX
                                                                           77380
Fourth Dimension Spine, LLC      Spinal Transition and         100%        7 Switchbud Place
                               Professional Services LLC                   Suite 192-180
                                                                           The Woodlands, TX
                                                                           77380
HoloSurgical Inc.               Surgalign Holdings, Inc.       100%        520 Lake Cook Road,
                                                                           Suite 315
                                                                           Deerfield, IL 60015
HoloSurgical Technology Inc.       HoloSurgical Inc.           100%        520 Lake Cook Road,
                                                                           Suite 315
                                                                           Deerfield, IL 60015
         Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 13 of 20



                       OMNIBUS RESOLUTIONS OF THE BOARDS
               OF DIRECTORS, BOARDS OF MANAGERS, AND SOLE MEMBER
                                                June 16, 2023
         After due deliberation, the members of the board of directors, the board of managers, and sole
member (each, a “Governing Body”), as applicable, of Surgalign Holdings, Inc. (“Surgalign”) and each
entity set forth on Annex A attached hereto (each, a “Company” and, collectively, the “Companies”), do
hereby consent to, adopt, and approve the following resolutions pursuant to the certification of
incorporation or similar document (in each case, as amended or amended and restated to date) of each
Company, as applicable, and the laws of the state of formation of each Company as set forth next to each
Company’s name on Annex A:
Chapter 11 Filing
         WHEREAS, each Governing Body has reviewed and considered (a) the presentations by each
Company’s management and financial and legal advisors regarding the liabilities and liquidity of each
Company, the strategic alternatives available to it, and the impact of the foregoing on each Company’s
businesses, (b) the information and advice previously provided to and reviewed by each Governing Body,
and (c) the related matters reported on at meetings of each Governing Body;
        WHEREAS, each Governing Body has had the opportunity to consult with each of the Companies’
management and financial and legal advisors and fully consider each of the strategic alternatives available
to the Companies; and
         WHEREAS, based on their review of all available alternatives and advice provided by such
financial and legal advisors, each Governing Body deems it advisable and in the best interest of each of the
Companies, their creditors, employees and other stakeholders to take the actions specified in the following
resolutions.
        NOW, THEREFORE, BE IT,
         RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the best
interests of the Companies, their stockholders, their creditors, and other parties in interest to file, or cause
to be filed, voluntary petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title
11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) and any other petition for relief or recognition or other
order that may be desirable under applicable law in the United States, and to take any and all actions, that
they deem necessary or appropriate.
        RESOLVED, that the Chief Executive Officer, President, General Counsel, Chief Financial
Officer, Chief Accounting Officer, Treasurer, Secretary, and independent directors of the Board of
Directors (each, an “Authorized Signatory” and collectively, the “Authorized Signatories”) of each
Company, acting alone or with one or more other Authorized Signatories be, and they hereby are,
authorized, empowered and directed, together with the Companies’ advisors, to execute and file on behalf
of each Company all petitions, schedules, lists and other motions, applications, pleadings, papers, or
documents, and to take any and all actions that they deem necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of each
Company’s businesses and in connection with the Chapter 11 Cases, with a view to the successful
prosecution of the cases.
        Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 14 of 20



Retention of Professionals
        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to cause the Companies to employ the law firm of White & Case LLP (“W&C”) as general
bankruptcy counsel to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Company’s rights and obligations, including filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of W&C in accordance with applicable law.
        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to cause the Companies employ the law firm of Jackson Walker, L.L.P. (“Jackson Walker”) as
local bankruptcy counsel to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and obligations,
including filing any motions, objections, replies, applications, or pleadings; and in connection therewith,
each of the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Jackson Walker in accordance with applicable law.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to cause the Companies employ the firms of Alvarez & Marsal North America, LLC and Alvarez
& Marsal Securities, LLC (“A&M”), as investment banker and restructuring and financial advisor to each
Company to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and
to take any and all actions to advance each Company’s rights and obligations; and in connection therewith,
each of the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and cause to be filed an appropriate application
for authority to employ or retain the services of A&M in accordance with applicable law.
        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to cause the Companies employ the firm of Kroll Restructuring Administration LLC (“Kroll”), as
notice and claims agent to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and directed
to execute appropriate retention agreements, pay appropriate retainers, and cause to be filed appropriate
applications for authority to retain the services of Kroll in accordance with applicable law.
        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to cause the Companies employ any other professionals, including legal counsel, accountants,
financial advisors, investment bankers, and other professionals, to assist each Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and cause to be filed an appropriate application for authority to retain the
services of any other professionals as necessary.
Stalking Horse APA
        RESOLVED, that it is in the best interest of Surgalign to enter into the proposed Asset Purchase
Agreement (together with all exhibits, schedules and other attachments thereto or incorporated therein by
reference, the “Stalking Horse APA”), by and between Xtant Medical Holdings, Inc., as the stalking horse




                                                     2
         Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 15 of 20



bidder (the “Stalking Horse Bidder”) and Surgalign Holdings, Inc. as seller, on terms and conditions
substantially similar to those set forth in the form of Stalking Horse APA;
        RESOLVED, that the form, terms, and provisions of the Stalking Horse APA, and any other
agreement, instrument, document, or certificate required to effect the purposes of the Stalking Horse APA,
is authorized and approved, with such changes, additions, or deletions as any Authorized Signatories
executing the same may in his or her discretion deem necessary or appropriate;
        RESOLVED, that the Authorized Signatories be, and hereby are, authorized, empowered, and
directed to enter into, execute, and deliver the Stalking Horse APA on behalf of Surgalign, subject to
Surgalign receiving higher or better offers through a court-supervised auction process pursuant to section
363 of the Bankruptcy Code; and it is further
         RESOLVED, that the Authorized Signatories be, and hereby are, authorized, empowered, and
directed to execute and file on behalf of Surgalign all schedules, lists, and other motions, papers, or
documents, and any other agreements or amendments related thereto or required thereby in respect of the
sale of certain or all of the assets of Surgalign pursuant to sections 105, 363, and 365 of the Bankruptcy
Code (the “Section 363 Sale”), and to take any and all action that they deem necessary or advisable to effect
the Section 363 Sale, the execution thereof to be conclusive evidence of such approval and determination;
        RESOLVED, that in connection with the Chapter 11 Cases, the Authorized Signatories shall be,
and hereby are, authorized, directed, and empowered, in the name of and on behalf of Surgalign, to file a
motion and related bidding procedures to continue marketing substantially all of Surgalign’s assets, and
commence a bidding and sale process for substantially all of Surgalign’s assets and pursue negotiations
with any interested parties regarding a sale of such assets pursuant to section 363 of the Bankruptcy Code;
provided, however, any decision to accept an offer to purchase Surgalign’s assets shall be subject to further
approval by the applicable Governing Body.
         RESOLVED, that each of the Authorized Signatories be, and each of them hereby is, authorized
and empowered, on behalf of and in the name of Surgalign, to take or cause to be taken any and all such
further action and to execute, deliver, verify and/or file, or cause to be executed, delivered, verified and/or
filed (or direct others to do so on its behalf as provided herein) all such further documents, agreements,
instruments, financing statements, notices, undertakings, certificates and other writings to effectuate the
purpose and intent of any and all of the foregoing resolutions.
Prompt Machine Shop Purchase Agreement
         RESOLVED, that it is in the best interest of Surgalign Spine Technologies, Inc. to enter into the
proposed Asset Purchase Agreement (together with all exhibits, schedules and other attachments thereto or
incorporated therein by reference, the “APA”), by and between Prompt Prototypes LLC, as buyer (the
“Purchaser”), and Surgalign Spine Technologies, Inc., as seller, on terms and conditions substantially
similar to those set forth in the form of APA.
         RESOLVED, that the form, terms, and provisions of the APA, and any other agreement,
instrument, document, or certificate required to effect the purposes of the APA, are authorized and
approved, with such changes, additions, or deletions as any Authorized Signatories executing the same may
in his or her discretion deem necessary or appropriate.
        RESOLVED, that the Authorized Signatories be, and hereby are, authorized, empowered, and
directed to enter into, execute, and deliver the APA with the Purchaser on behalf of and in the name of
Surgalign Spine Technologies, Inc.
        RESOLVED, that the Authorized Signatories be, and hereby are, authorized, empowered, and
directed to execute and file on behalf of Surgalign Spine Technologies, Inc. all schedules, lists, and other

                                                      3
          Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 16 of 20



motions, papers, or documents, and any other agreements or amendments related thereto or required thereby
in respect of the sale of certain assets of Surgalign Spine Technologies, Inc. pursuant to sections 105, 363,
and 365 of the Bankruptcy Code (the “Prompt Sale”), and to take any and all action that they deem necessary
or advisable to effect the Prompt Sale, the execution thereof to be conclusive evidence of such approval
and determination.
Dissolution of Non-U.S. Entities
         RESOLVED, that to the extent that the some or all of the equity interests of Surgalign’s non-U.S.
hardware subsidiaries are not sold or otherwise transferred to a third-party acquirer pursuant to the Stalking
Horse APA, another asset purchase agreement, or a strategic transaction in connection with the Chapter 11
Cases, it is in the best interests of each Company to dissolve, cease operations, and wind down Surgalign’s
non-U.S. hardware subsidiaries.
         RESOLVED, that the Authorized Signatories be, and hereby are, authorized and empowered, on
behalf of and in the name of Surgalign, to take or cause to be taken or cause to be taken any and all such
further action and to execute, deliver, verify and/or file, or cause to be executed, delivered, verified and/or
filed (or direct others to do so on its behalf as provided herein) all such further documents, agreements,
instruments, financing statements, notices, undertakings, certificates and other writings to effectuate the
purpose and intent of any and all of the foregoing resolution.
General
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
empowered, on behalf of and in the name of Surgalign to amend, supplement, or otherwise modify from
time to time the terms of any documents, certificates, instruments, agreements, financing statements,
notices, undertakings, or other writings referred to in the foregoing resolutions.
         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be, and
hereby are, authorized and empowered, in the name of and on behalf of each Company, to take or cause to
be taken any and all such other and further action, and to execute, acknowledge, deliver, and file any and
all such agreements, certificates, instruments, and other documents and to pay all expenses, including but
not limited to filing fees, in each case as in such Authorized Signatory’s judgment, shall be necessary,
advisable, or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein.
        RESOLVED, that each Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of each Company, or hereby waive any right to have received
such notice.
         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of each Company
with the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
authorized in advance by resolution of each Governing Body.
         RESOLVED, that the omission from these resolutions of any agreement, document, or other
arrangement contemplated by any of the agreements, documents, or instruments described in the foregoing
resolutions or any action to be taken in accordance with any requirement of any of the agreements or
instruments described in the foregoing resolutions shall in no manner derogate from the authority of the


                                                       4
        Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 17 of 20



Authorized Signatories to take all actions necessary, desirable, advisable, or appropriate to consummate,
effectuate, carry out, or further the transactions contemplated by, and the intent and purposes of, the
foregoing resolutions.
         RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of each
Company with respect to the transactions contemplated by these resolutions hereunder, as such Authorized
Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable business judgment
to effectuate the purposes of the transactions contemplated herein.


                                                       ****




                                                   5
        Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 18 of 20



                                SECRETARY’S CERTIFICATE

        The undersigned, being duly elected as Chief Legal Officer and Corporate Secretary of
Surgalign Holdings, Inc. (“Surgalign”), a Delaware corporation, hereby certifies that (i) the
attached resolutions are true and correct copies of the resolutions adopted by Surgalign’s Board
of Directors on behalf of Surgalign and each company identified on Annex A attached hereto at
a meeting of Surgalign’s Board of Directors held on June 16, 2023; and (ii) these resolutions
have not been amended and or modified or superseded in any way as of the date of this
Certificate.

IN WITNESS WHEREOF, I have set my hand this 19th day of June, 2023.



                                              By:
                                                    Paolo Amoruso
                                                    Chief Legal Officer and Corporate Secretary




                         [Signature Page to Omnibus Written Consent]


                                                6
       Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 19 of 20



                                             Annex A
                                             Companies

                                         Jurisdiction of
        Name of Company                                             Governing Body
                                         Incorporation
Surgalign Holdings, Inc.             Delaware              Board of Directors
                                                           Sheryl L. Conley
                                                           Terry Rich
                                                           Thomas A. McEachin
                                                           Mark D. Stolper
                                                           Paul G. Thomas
                                                           Nicholas J. Valeriani
                                                           Jill Frizzley
                                                           Elizabeth LaPuma

Surgalign Spine Technologies, Inc.   Delaware              Board of Directors
                                                           Terry Rich
                                                           David Lyle

Pioneer Surgical Technology          Texas                 Director
NewCo Inc.                                                 Paolo Amoruso

Spinal Transition and Professional   Texas                 Manager
Services LLC                                               Paolo Amoruso

Andi’s Belmarall, LLC                Delaware              Sole Member
                                                           Paradigm Spine, LLC

Fourth Dimension Spine, LLC          Delaware              Managers
                                                           Terry Rich
                                                           David Lyle

Holo Surgical Inc.                   Delaware              Board of Directors
                                                           Terry Rich
                                                           David Lyle

HoloSurgical Technology Inc.         Delaware              Board of Directors
                                                           Terry Rich
                                                           David Lyle
                  Case 23-90731 Document 1 Filed in TXSB on 06/19/23 Page 20 of 20
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit AA@ shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is ___001-38832.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
        March 31, 2023 unless indicated otherwise herein.
              a. Total assets                                                             $      $67,714,0001

              b. Total debts (including debts listed in 2.c., below)                             $76,643,0002
                                                                                           $
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                              10,165,0613

              Comments, if any:



                                                                  See first day declaration of Paul Rundell filed in connection herewith.
              3. Brief description of debtor=s business:



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor: Paewel Lewicki (5.1%); Armistice Capital LLC (9.9%)




       1This figure reflects Total Assets of SRGA as presented in the March 31, 2023 Form 10-Q and is on a consolidated
       basis for the Debtors and non-Debtor affiliates.
       2This figure reflects Total Debts of SRGA as presented in the March 31, 2023 Form 10-Q and is on a consolidated
       basis for the Debtors and non-Debtor affiliates.
       3 This figure reflects number of shares of common stock as of June 16, 2023.
       4 This figure reflects ownership of SRGA as presented in the April 28, 2023 Schedule 14A.

        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
